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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                              Case No. 11-80205-CR-MARRA


       UNITED STATES OF AMERICA,

                        vs.

       MITCHELL J. STEIN,

                              Defendant.




                   DEFENDANT’S SENTENCING MEMORANDUM
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       Exhibit No.   Short Citation Description
                     (if applicable)
       1             O’Neal Rpt.     Expert Report of Edward S. O’Neal, Ph.D., dated
                                     April 6, 2018
       2             Christian Rpt.  Expert Report of James Wesley Christian dated April
                                     6, 2018
       3             Becker Rpt.     Expert Report of Chyhe K. Becker, Ph.D., dated April
                                     6, 2018
       4             Hayter Rpt.     Rebuttal Report of Dr. Anthony Hayter, dated May
                                     10, 2018
       5             O’Neal          Rebuttal Report of Edward S. O’Neal, Ph.D., dated
                     Rebuttal Rpt.   May 10, 2018
       6             Christian       Rebuttal Report of James W. Christian, dated May 10,
                     Rebuttal Rpt.   2018
       7                             Signalife Inc., Form 10-Q, August 15, 2008
       8                             Brochure titled “Athletes for Life Foundation” dated
                                     Apr. 16, 2008, DOJ-LBE0026145
       9                             Nov. 12-13, 2008 emails between M. Stein and
                                     officials at the National Institutes of Health, SEC-
                                     MS_0005798
       10                            Signalife Press Release, “AFL receives overwhelming
                                     demand for Signalife Heart Screening,” SEC-LBE
                                     028511
       11                            Feb. 28, 2007 emails between M. Stein and Michael
                                     Menzies, SEC-MS_0014764
       12                            Jan. 8-9, 2007 emails between M. Stein and Pam
                                     Bunes, SEC-MS_0016484
       13                            Signalife Stock Price Data, USA-MS-0000005833
       14                            Transcript of April 14, 2008 Signalife Webcast, HT-
                                     SEC 0005615
       15                            Letter from Michelle Pascucci to Benjamin
                                     Gruenstein, dated April 18, 2018
       16                            Excerpt from Signalife trading data (Bryan Harris
                                     trades)




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          Defendant Mitchell J. Stein respectfully submits this sentencing memorandum pursuant
   to the Court’s January 24, 2018 scheduling order (DE 523).1
                                   PRELIMINARY STATEMENT
          In 2014, this Court sentenced Defendant, Mitchell J. Stein, to 204 months in prison. As
   of June of this year, Stein, who is fifty-nine years old, will have served sixty-one months of that
   sentence. Nearly half of Defendant’s total offense level for Guidelines purposes included a 20-
   point loss enhancement, based on the Court’s finding that over two thousand investor victims
   who purchased stock in Signalife Inc. lost nearly $13.2 million from the offenses. The Eleventh
   Circuit vacated the sentence and remanded for reconsideration of the loss amount (if any). For
   the reasons that follow, applying the Eleventh Circuit’s decision, this Court should find a
   substantially smaller loss amount than $13.2 million, and accordingly should impose a
   substantially reduced sentence and restitution amount.
          The Eleventh Circuit found the government’s proof of loss to be deficient in two respects:
   first, the government failed to prove, as it must, that the alleged investor victims had actually
   relied on the fraudulent statements in purchasing Signalife shares; and second, the government
   failed to prove loss causation—that the offense conduct, as opposed to other factors, caused the
   pecuniary losses that those investors suffered. See United States v. Stein, 846 F.3d 1135, 1151-
   57 (11th Cir. 2017). Now, the evidence will show that, far from $13.2 million in losses to
   Signalife investors (let alone the even higher sums the government also put forward in the
   previous proceeding, and which this Court rejected), assuming any investor relied upon the
   alleged misrepresentations here, the losses actually caused by the Defendant’s offenses amounted
   to close to zero. The government has not put forward any evidence establishing what was
   missing from its previous calculations—that the marketplace of investors collectively relied upon
   the alleged misrepresentations in purchasing Signalife stock. Moreover, Defendant’s experts at
   the upcoming sentencing hearing will explain how, at most, investors collectively lost
   approximately $525,000, and likely much less, as a result of the offenses. By the time any facts
   relating to the alleged fraud ever reached the market, Signalife’s stock price had already fallen

   1
     This memorandum addresses only issues concerning sentencing and restitution. Defendant has
   filed a separate motion to vacate the Court’s forfeiture judgment against him based on the
   Supreme Court’s recent decision in Honeycutt v. United States, 137 S. Ct. 1626 (2017). (DE
   524.) That motion is fully briefed. Defendant has two additional motions pending (DE 479 and
   510).

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   over 90% from the date on which the first allegedly false press release was issued. Under well-
   established principles for calculating investor losses, because the market never learned of the
   fraud before the stock price dropped, that price drop cannot be attributed to the fraud. Factors
   other than the alleged purchase order fraud, including the overall market conditions, company-
   specific information unrelated to the fraud, and manipulative trading (so-called “naked short
   selling”), were among the causes of this price drop.
          Importantly, it is not Defendant’s burden to prove affirmatively the lack of losses
   resulting from his offenses. Although Defendant does not know what specific loss estimates the
   government will put forward, as the government’s expert did not disclose a loss amount in her
   reports, at the very least the government will likely be unable to show that alleged investor
   victims relied upon the fraud in making their decisions to purchase Signalife stock. And, even if
   some investors did so rely, the government will not be able to prove that the fraud, as opposed to
   other factors, caused the pecuniary losses that those investors may have suffered. Perhaps
   recognizing the sea change resulting from the Eleventh Circuit’s decision, based on the
   disclosures the government has made to Defendant to date it appears that it now believes that
   losses to investors were well below the $13.2 million this Court previously found.
          Although Defendant does not dispute the jury’s verdict, that investors suffered far smaller
   losses than the Government originally contended is cause for reconsidering how the alleged
   scheme actually worked, how (if at all) investors were harmed, and how (if at all) Defendant
   profited. The government’s central narrative about the alleged scheme has been that it was a
   “pump-and-dump” scheme, in which a defendant inflates stock through fraud while secretly
   selling his shares at the inflated price. Here, however, that did not happen, as Signalife’s stock
   price began to decline shortly after the second of the three allegedly false press releases was
   issued, rather than remaining inflated throughout the alleged fraud period. In addition,
   Defendant was a net purchaser of the stock throughout the alleged fraud period, and himself
   suffered large losses as a result of the stock price decline. It is with this understanding of how
   the alleged scheme worked that the extent of any loss enhancement must be considered.
          Because this Court should find that the loss amount is dramatically smaller than what it
   found previously, it should impose a substantially reduced sentence.




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                                            BACKGROUND
          As explained below (see infra sec. F), Defendant does not know precisely what the
   government will present as an estimate of the loss in its sentencing memorandum. From what
   the government has disclosed, however, it appears that it will focus on alleged losses to certain
   holders of Signalife stock, as well as alleged gains to Defendant as an alternative measure of
   loss. This memorandum therefore focuses on those two measures of loss.
          A.      The Alleged Scheme
          On September 20 and 25, 2007, and October 10, 2007, Signalife issued three press
   releases reporting on purchase orders for the company’s products that the government alleged
   were fabricated by Defendant and his co-conspirators. The company’s subsequent quarterly and
   annual SEC filings stated that these purchase orders remained pending, until August 15, 2008. In
   the company’s 10-Q issued on that date, Signalife reported that one of the three purchase orders
   had been canceled by the entity that purportedly leased the products, and that Signalife had never
   recognized revenue from any of the purchase orders. (O’Neal Rpt. (Ex. 1) ¶¶ 41-42; Signalife
   Form 10-Q (Aug. 15, 2008) (Ex. 7), at 21-22.)2 According to the government’s pre-trial
   disclosures, it intends to argue for a loss amount based on investor losses during two potential
   “fraud periods”: September 20, 2007 through August 15, 2008 (the “broad” period), and
   September 25, 2007 through April 14, 2008 (the “narrow” period). (See Ltr. from M. Pascucci to
   B. Gruenstein (May 4, 2008) (DE 527-1) (“Pascucci May 4 Ltr.”).) The end of the narrow
   period is the date on which Signalife’s CEO held a public webcast (described below).
          Accurately assessing the amount investors in Signalife stock may have lost as a result of
   these events requires putting them into proper context. In the early 2000s, Defendant’s ex-wife,
   Tracey Hampton-Stein, acquired patented “signal” technology that had been developed for the
   U.S. Air Force. Through an entity called ARC Finance Group, Hampton-Stein sold this


   2
     As well as this purchase order fraud, the Indictment also alleged that Stein concealed his
   trading of Signalife stock by selling shares through blind trusts. (Indictment (DE 3) ¶ 9.) As
   explained below, the blind trust sales to which the Indictment refers stopped months before the
   first allegedly false press release was issued. The press releases and subsequent SEC filings are
   the only statements to the market that the government has ever alleged to have been fraudulent.
   Therefore, the blind trust sales, which stopped before those statements were ever made, should
   not be seen as part of a scheme to deceive investors. Moreover, the government has never
   alleged, including in the first sentencing proceeding, that the blind trust sales resulted in losses to
   any victims, and Defendant does not understand the government to be alleging that now either.

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   technology to a company that came to be called Signalife, with ARC Finance owning a large
   majority of the company’s stock. The technology was incorporated into Signalife’s main
   product, the Fidelity 100 heart monitor. (Signalife, Inc., Form 10-KSB (Dec. 31, 2005)
   (“Signalife 2005 10-K”), DX 78 (DE 452-10), at 1-2, 4, 8.) Despite not being a formal officer of
   the company, Defendant was a passionate, even obsessive, believer in the value of the
   company’s technology and the potential for the company’s products to save lives. (See, e.g., Ex.
   9 (Nov. 12-13, 2008 emails between Defendant and NIH officials).) As well as his involvement
   with the company’s management and sales efforts, he also co-founded a charity, Athletes for
   Life, aimed at “promoting early diagnosis and treatment” of heart problems with the company’s
   products. (See Exs. 8, 10.)
          Beginning in 2003, Defendant and his ex-wife began taking Signalife public by issuing
   and then selling certain quantities of shares into the public market. (Signalife 2005 10-K, DX 78
   (DE 452-10) at 1-2.) However, throughout the company’s history, Defendant remained a
   substantial shareholder. As of September 19, 2007, the day before the first press release was
   issued, Defendant held over 19.5 million shares of Signalife through ARC Finance Group and
   other personal accounts. (O’Neal Rpt. (Ex. 1) ¶¶ 77-78.)
          By early 2007, Defendant believed that a group of investors in the company, including a
   former employee, were attempting to manipulate the company’s stock price by engaging in so-
   called naked short selling. (See, e.g., Ex. 11 (Feb. 28, 2007 email from Defendant to Michael
   Menzies describing naked short selling of Signalife shares).) Defendant was not alone in this
   belief; other company officers, including then-CEO Pam Bunes, also thought that the company
   was the target of naked short sellers. (See, e.g., Ex. 12, at SEC-MS_0016485 (Jan. 8, 2007 email
   from Pam Bunes to Defendant, asking for advice on website discussing naked short selling).)
   Naked short selling is a trading practice whereby speculators attempt to manipulate the price of a
   company’s stock away from its fundamental value by selling shares without owning or arranging
   to borrow them, as in a normal short sale. (See Christian Rpt. (Ex. 2) ¶ 16; Becker Rpt. (Ex. 3) ¶
   25 n.20.) Both sides’ experts in this case agree that naked short selling “would be expected to
   have a negative effect on the stock price.” (Becker Rpt. (Ex. 3) ¶ 25 n.20; see also Christian Rpt.
   (Ex. 2) ¶ 16.) Defendant believed that the only way to combat the naked short sellers was for the
   company to post positive earnings, which would cause the stock’s price to rise and prevent the
   naked short sellers from profiting. (See, e.g., Ex. 12, at SEC-MS_0016484-485 (Jan. 8, 2007

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   emails from Defendant to Pam Bunes) (“the end of the short-sellers happens when you post
   earnings. . . . only real way to ‘break’ a naked short is with real revenues and real earnings,
   coupled with a stock buyback.”); Ex. 11 (Feb. 28, 2007 email from Defendant to Michael
   Menzies, noting that the AMEX, Depository Trust Co., and shareholders had confirmed the
   manipulative trading and that “the company must simply win from a business standpoint”).)
          B.      Signalife’s Stock Drops Throughout the Alleged Fraud Period, Behavior
                  Inconsistent with a Pump-and-Dump Scheme To Deceive the Market
          The government’s theory of the alleged scheme was that it was a traditional so-called
   “pump-and-dump” scheme; it argued to the jury that Stein perpetuated the fraud in order to
   inflate Signalife’s stock price while he enriched himself by selling stock issued to him and his
   co-conspirators at the inflated value. (See Tr. vol. 10 (DE 248) at 34-35 (government’s closing)
   (“It was almost as if this Defendant was placing an order with Signalife for shares he could steal
   and sell. . . . The purpose of the scheme, the lies about the purchase orders, was to support the
   stock price so they could manipulate the market and get more for their shares. . . .”).)
          The actual behavior of the stock during the alleged fraud periods, however, belies this
   theory, and shows that investors in Signalife stock lost money (if they did) for reasons other than
   the fraud. Signalife’s stock traded at $1.37 on September 19, 2007, the day before the first press
   release was issued. (O’Neal Rpt. (Ex. 1) ¶ 37.) The government’s expert found that there was
   no statistically significant price movement on September 20, 2007, the date of the first press
   release. (Becker Rpt. (Ex. 3) ¶ 14.) On September 25, 2007, the date of the second press release,
   the price rose less than thirty cents, from $1.44 to $1.70. (See Signalife stock price data, Ex. 13.)
   The price then fluctuated, reaching a high of $2.16 on October 4, 2007. This was the highest the
   stock would reach during the entire alleged fraud period. (O’Neal Rpt. (Ex. 1) ¶ 37.) After
   October 4, the price began a gradual decline through February 2008. Like the first press release,
   the third, issued October 10, 2007, did not move the stock price, which continued to fall.
   (Becker Rpt. (Ex. 3) ¶ 14.)
          The stock price recovered somewhat between February and April 2008, but then began to
   decline again, reaching $0.10 on August 15, 2008, the last day of the government’s “broad”
   fraud period. (O’Neal Rpt. (Ex. 1) ¶ 37.) Until that date, no additional information concerning
   the purchase orders that the press releases reported on reached the market, other than statements
   in the company’s SEC filings that simply repeated the same information that had been in the
   original press releases. (Id. ¶¶ 38-39.) During the same period, from September 20, 2007
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   through August 14, 2008, the stock lost over 90% of its value. Meanwhile, price movements
   during that period were associated with company news unrelated to the purchase orders. For
   example, Signalife’s stock fell 12.75% on January 15, 2008, when the AMEX stock exchange
   issued a deficiency letter to the company indicating that the company was in danger of being de-
   listed from the exchange. (Id. ¶ 74.) The stock fell nearly 40% on July 11, 2008, when Signalife
   reported that its board had approved a merger. (Id.) And just a few trading days before the
   government’s “broad” fraud period ended, on August 11, 2008, the stock fell by nearly 16%,
   following news that the company would de-list from the AMEX. (Id.)
           In addition, throughout this time period, Signalife experienced high and increasing levels
   of naked short selling, as evidenced by high levels of “fails-to-deliver” (“FTDs”) reported by the
   SEC—trades in which naked short sellers, who had sold the stock without owning or borrowing
   it, failed to deliver the securities to the buyers. (Christian Rpt. (Ex. 2) ¶¶ 16, 27-28.) During
   some portions of the alleged fraud periods, the naked short sales represented substantial portions
   of the company’s overall trading volume. (Id. ¶¶ 27-28.) The true level of naked short selling
   was likely larger than the public data suggests, due to underreporting. (Id. ¶¶ 27, 30.) The high
   levels of FTDs were associated with declines in the company’s stock price; Defendant’s experts
   have concluded that the relationship between FTDs and share price declines was statistically
   significant. (See id.; Hayter Rpt. (Ex. 4) at 13-39.)
           C.      The (Non-)Revelation of the Fraud
           As mentioned above, at no point during the alleged fraud periods did any information
   reach the market suggesting that the purchase orders described in the three press releases were
   not real. At the same time, during a period in which one would expect the stock would be
   artificially inflated by the alleged fraud, the stock had fallen from $1.37 on September 19, 2007,
   to $0.11 on August 14, 2008.3 On August 15, 2008, the company issued its second quarter 10-Q,
   in which it disclosed that (a) the lessee for one of the three purchase orders had returned the
   products, suggesting the order was canceled; (b) the company was requiring the lessee on a


   3
     As one of the panel judges on appeal at oral argument stated, “this is just one of those
   backwards kinds of cases where when the fraud, which is what usually causes prices to rise was
   taking place, the prices were falling . . . and you had the short . . . sales that were taking place . . .
   . And typically when we’re looking at losses in securities cases, we’re required to take into
   account other factors that may come into play . . . .” (Recording on file with the Court of
   Appeals.)

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   second purchase order to confirm its ability to pay; and (c) with respect to all three purchase
   orders, the company had not recognized revenues to date. (O’Neal Rpt. (Ex. 1) ¶¶ 41-42;
   Signalife Form 10-Q (Aug. 15, 2008) (Ex. 7), at 21-22.) In the previous sentencing proceeding,
   the government argued that these disclosures were “the first time Signalife publicly disclosed
   anything that could have signaled to investors that anything was amiss regarding” the purchase
   orders. (U.S.’s Position on Sentencing (“Gov’t Sent. Mem.”) (DE 386) at 10 (emphasis added).)
          The stock price declined one cent on August 15, 2008, a return that the government’s
   expert concluded was not statistically significant. (Becker Rpt. (Ex. 3) ¶ 16.) The price dropped
   another three cents on August 18, the next trading day. (O’Neal Rpt. (Ex. 1) ¶ 44.) These
   declines cannot be attributed solely or even mostly to the purchase order disclosures in the 10-Q,
   as the 10-Q also disclosed additional information that would have been highly important to
   investors: (1) a quarterly operating loss of $5.7 million, the company’s largest loss in at least ten
   quarters, and (2) an announcement that the company had negative shareholders’ equity (meaning
   its liabilities exceeded the book value of its assets) for the first time. (Id. ¶¶ 49-57.) Assessing
   these facts, Defendant’s expert Dr. O’Neal has estimated that assuming all investors holding
   shares on August 15, 2008 are counted as victims of the fraud (i.e., they relied upon the fraud in
   making their decisions to purchase and hold the shares and suffered a loss) and assuming the
   stock traded in an efficient market (a fact the government has not produced evidence to support),
   investor losses attributable to the purchase order disclosures in the 10-Q are no more than
   $525,422.4 (Id. ¶ 58.) And, this did not even take into account the impact of the naked short
   selling going on in the background, which, as noted above, produced continuous downward
   pressure on the stock price. (Christian Rpt. (Ex. 2) ¶¶ 27-28.) Indeed, after the fraud period, the
   company engaged in a reverse stock split that resulted in enormous numbers of FTDs well above
   the trading volume of the company’s shares; this indicates that substantial naked short selling
   had been taking place prior to the stock split. (Id. ¶ 30; Hayter Rpt. (Ex. 4) at 54-56.)

   4
     This figure represents the four-cent price drop on August 15 and 18 multiplied by all
   outstanding non-insider shares (i.e., shares held by investors other than Defendant and
   Signalife’s directors and officers). Conservatively, Dr. O’Neal looked at the two-trading-day
   price impact of the 10-Q, rather than the single-day return on August 15. Dr. O’Neal divided the
   result, approximately $1.5 million, by three, representing the reasonable estimate that one third
   of the price decline could be attributed to the purchase order disclosures, while the other two
   thirds could be attributed to the disclosures of the quarterly loss and negative stockholders’
   equity respectively. (O’Neal Rpt. (Ex. 1) ¶ 58.)

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          For the first time in this proceeding, the government has put forward an alternative theory
   that a webcast given by the company’s then-CEO, Lowell Harmison, on April 14, 2008, was a
   “partial” disclosure of the fraud,5 and will argue that investor losses should be measured based
   on the stock’s decline on that date, seventeen cents. (See Becker Rpt. (Ex. 2) ¶¶ 15-16;6 Pascucci
   May 4 Ltr. (DE 527-1) (describing a “narrow” fraud period from September 25, 2007, to April
   14, 2008); O’Neal Rebuttal Rpt. (Ex. 5) ¶ 6.) This theory is inconsistent with the position the
   government took in the first sentencing, where it said that the company did not disclose anything
   negative about the purchase orders until August 15, 2008. (See Gov’t Sent. Mem. (DE 386) at
   10.) And, in fact, as the webcast transcript reveals, Dr. Harmison did not even mention the
   purchase orders or press releases that Defendant is accused of fabricating. (See Tr. of 4/14/18
   Webcast (Ex. 14); O’Neal Rebuttal Rpt. (Ex. 5) ¶ 3.) Indeed, he provided almost no specific
   information about the company’s financial performance or sales; what he did say, while vague,
   was entirely positive. (See Tr. of 4/14/18 Webcast (Ex. 14) at 8:22-9:5 (describing projections of
   $40 million in gross revenue over the subsequent quarters).)7 The stock price’s behavior
   surrounding the webcast was a blip: The stock was trading at $1.03 on April 10, then spiked
   30% to $1.34 on April 11, the trading day prior to April 14, possibly as a result of investor
   speculation about the webcast. (O’Neal Rebuttal Rpt. (Ex. 5) ¶ 6.) The drop on April 14,
   therefore, represented the fall from a temporary high. After the drop, the stock still traded higher
   than beforehand, at $1.17. (Id.)
          D.      Defendant’s Trading During the Fraud Period
          As noted above, the sales from Defendant’s THS Blind Trust stopped before the first
   press release. (See Excerpt from Signalife trading data (DE 524-1) (showing last sale by THS
   Blind Trust on February 26, 2007).) The government has not alleged that these sales either were
   part of any scheme to deceive the market or harmed any victims. The total proceeds of these


   5
     The government presented no evidence about this webcast at the trial, and did not mention it at
   all in its submissions for the first sentencing proceeding.
   6
    The government’s expert assumed that the webcast contained a partial disclosure based on
   counsel’s instructions. (See Becker Rpt. (Ex. 3) ¶ 15.)
   7
    The webcast took place about ten days after the company issued its 10-K on April 3, 2008, in
   which it made positive statements about the pending purchase orders, including that product
   units had begun to be shipped and that the company anticipated completing the orders by the first
   quarter of 2009. (Signalife, Inc. Form 10-K (Apr. 3, 2008), GX 93 (DE 453-16) at 78-79.)

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   sales, according to the government, amounted to under $1.4 million. (See Declaration, DE 252-
   1.) When the government’s “broad” fraud period began on September 20, 2007, Defendant still
   held over 19.5 million shares through ARC Finance and other accounts. (O’Neal Rpt. (Ex. 1) ¶
   77.) Defendant was a net purchaser of Signalife stock during the alleged fraud period, and his
   holdings increased to 21.6 million shares at the end of the second quarter of 2008. (Id. ¶ 78.)
   Including losses on stock trades as well as the decline in value of his holdings, Defendant lost
   over $26 million during the “broad” fraud period. (Id. ¶ 80.)
          E.      The Prior Sentencing Proceeding
          In the first sentencing, the government alleged that investor losses could range from
   $13.2 million, using a “buyers-only” calculation (taking the total losses of all investors who
   purchased stock during the fraud period), to as high as $78 million, using the “modified
   rescissory method” (taking the average stock price during the fraud period and subtracting the
   average price over a period of time after it, multiplied across all outstanding shares). (See Gov’t
   Sent. Mem. (DE 386) at 7-14.) The Court adopted the “buyers only” method using the
   government’s proposed fraud period, September 20, 2007 to August 15, 2008, for a loss amount
   of $13,186,025.85, which the court ordered Defendant to pay in restitution. (Id.; Sent. Tr. II (DE
   429) at 31; Amended Judgment (DE 461) at 5.) The government argued that it did not have to
   prove either reliance by any investor or that Defendant’s conduct caused an investor’s loss to
   include it in the loss amount. (See Sent. Tr. I (DE 428) at 206-207; Sent. Tr. II (DE 429) at 34-
   35.)
          The Defendant’s total offense level of 45 included a 20-point enhancement for the loss
   amount under U.S.S.G. § 2B1.1(b)(1). (Sent. Tr. II (DE 429) at 40-41.) The Court also imposed
   an enhancement for the offenses having involved 250 or more victims. (Id. at 39-41.) The
   evidence the government put forward supporting this enhancement was that over 250 investors
   purchased Signalife shares during the fraud period. (DE 386, at 19.) The government did not
   argue or show that 250 or more investors relied upon the fraud. Without these enhancements, the
   Defendant’s total offense level using the 2014 Guidelines would have been 23,8 which would


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     This Court imposed enhancements both for the offense involving 250 or more victims pursuant
   to U.S.S.G. § 2B1.1(b)(2)(C) (2014) and for the offense substantially endangering the solvency
   or financial security of a publicly traded company pursuant to § 2B1.1(b)(15)(B)(ii) (2014).
   (PSR (DE 251) at 14; Sent. Tr. II (DE 429) at 40-41.) The Court then decreased the total offense
   level by two to keep the cumulative adjustments for these two enhancements below eight levels.
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   have corresponded to a 46-57 month Guideline range. See U.S.S.G. § 5.A (2014). Defendant
   began serving his sentence in May 2013 and has already served sixty months.
          F.      The Government’s Disclosures of Its Loss Estimates in This Proceeding
          Because the government is submitting its sentencing memorandum simultaneously,
   Defendant does not know the precise loss estimates that the government will put forward.
   Although expert reports were exchanged in April and May of this year, the government’s only
   disclosed expert, Dr. Becker, did not opine on any specific amount that she estimated investors
   lost as a result of the offenses; instead, she provided general opinions on the impact of certain
   events on Signalife’s stock price. (Becker Rpt. (Ex. 3) ¶ 1.) The government apparently will call
   at the hearing Mr. Peter Melley, of FINRA, to “perform[] calculations based on Dr. Becker’s
   expert report” and Signalife trading data and “quantify the impact of the events on Signalife’s
   stock price.” (Ltr. from M. Pascucci to B. Gruenstein (Apr. 18, 2018) (Ex. 15).) Because, it
   contends, Mr. Melley is not “testifying as an expert,” the government did not disclose in an
   expert report what those calculations will be. (Id.) At Defendant’s request, the government did
   disclose certain “anticipate[d]” results of its calculations; although those disclosures are
   unexplained and not completely clear, it appears the government will estimate that investor
   losses totaled approximately $2 million using the “broad” fraud period or $500,000 using the
   “narrow” fraud period. (Pascucci May 4 Ltr. (DE 527-1).) The government also disclosed that it
   will argue, as “alternative measures of loss,” that the modified rescissory method could be
   applied, as well as the “loss attributable to testifying investor victims” and the “gain to the
   Defendant.” (Id.)9




   (See id.) If the Court were to vacate the 250 victim enhancement, the total offense level would
   therefore decrease by a net four levels, but in lieu of the 250-victims enhancement, Defendant
   would be subject to a two-level enhancement for use of mass marketing. See U.S.S.G. §
   2B1.1(b)(2)(A) (2014). This Court should apply the 2014 Guidelines in this re-sentencing
   proceeding, as it did in the original sentencing. See 18 U.S.C. § 3742(g)(1).
   9
     These are the only “alternative measures” of loss to the Melley calculations that the
   government has disclosed to Defendant. Defendant reserves the right to object if the government
   advances in its sentencing memorandum any measures of loss other than those it has previously
   disclosed, either in its expert reports or otherwise. As the government bears the burden of proof,
   it is not fair to withhold the government’s theories of loss before Defendant submits his opening
   sentencing memorandum; the Court’s scheduling order contemplates that such disclosure would
   occur, as it required exchanges of expert reports prior to sentencing memoranda. Defendant
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                                             ARGUMENT
   I.     LEGAL STANDARDS
          A.      The Government’s Burden
          The government bears the burden, both for Sentencing Guidelines purposes and
   restitution, to establish by a preponderance the amount of “actual loss” (if any) “attributable to
   the defendant’s conduct.” Stein, 846 F.3d at 1152.10 For restitution, the government also bears
   the burden of establishing that any particular person or entity was a victim of the offense, see,
   e.g., United States v. Martin, 803 F.3d 581, 593 (11th Cir. 2015), as well as the extent of the
   victim’s loss, if any, see, e.g., United States v. Huff, 609 F.3d 1240, 1247 (11th Cir. 2010).
   Although this Court may “estimate the amount of loss,” to carry its burden the government may
   not rely on “speculat[ion]” to support a loss amount, and the Court “must base its estimate on
   reliable and specific evidence.” Stein, 846 F.3d at 1152 (quotation marks omitted).
          B.      The Legal Framework for Calculation of the Loss Amount
          As set forth in more detail in the Eleventh Circuit’s opinion and below, the Court should
   apply the following principles in calculating the amount of investor losses, if any, that “resulted
   from the offense.” U.S.S.G. § 2B1.1 n.3(A)(i); see also 18 U.S.C. § 3663A(a)(1)-(2). First, an
   investor must have relied upon the specific fraudulent information promulgated by Defendant in
   purchasing his shares for his losses potentially to be included. Second, the actual loss on his
   investment that that investor suffered must have been caused by Defendant’s conduct, and not
   other causes; losses caused by intervening factors that themselves are unrelated to Defendant’s
   actions must be excluded. Third, the investor’s loss must also have been “reasonably
   foreseeable” and not too attenuated from Defendant’s conduct. One well-accepted method of
   calculating an investor’s loss that is consistent with these principles is to determine the amount
   the stock price dropped when the fraud was revealed to the market, adjusting for the impact of
   other information that reached the market at the same time and other phenomena that might
   account for a portion of such a price drop.



   further reserves the right to object to Mr. Melley’s testimony if it becomes clear that he is not
   simply “performing calculations” but rather testifying as an undisclosed expert.
   10
      Because the legal standards and authorities are similar for both the imposition of a loss
   enhancement and restitution, this memorandum will generally discuss the two issues
   interchangeably. See Stein, 846 F.3d at 1153.

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                  1.      Defendant’s Offense Must Be the Factual (“But For”) and Legal
                          (“Proximate”) Cause of Any Losses Included in the Loss Amount.
          “Actual loss” under U.S.S.G. § 2B1.1 is “defined as the reasonably foreseeable pecuniary
   harm that resulted from the offense.” Stein, 846 F.3d at 1152 (quotation marks omitted). This
   definition “incorporates and requires both factual or ‘but for’ causation and legal or foreseeable
   causation.” Id. (quoting United States v. Evans, 744 F.3d 1192, 1196 (10th Cir. 2014), and citing
   U.S.S.G. App. C, Vol. II at 178, Amend. 617 (Nov. 1, 2001)). Similarly, to “prove a victim
   suffered an actual loss under the MVRA, the government must establish both factual and legal
   causation in essentially the same manner as it must show causation under the guidelines—by
   proving but for and proximate causation.” Id. at 1153.
                  2.      To Prove Factual Causation, the Government Must Prove that Any
                          Alleged Victim Actually Relied Upon the Specific Misrepresentations.
          To satisfy the “but for” causation portion of § 2B1.1 and the MVRA, the government
   must prove that alleged victims “relied on Mr. Stein’s fraudulent information.” Stein, 846 F.3d
   at 1153. The government may show reliance either by “direct evidence that each individual
   investor read the false information and relied on it when deciding to purchase stock” or “specific
   circumstantial evidence from which the district court may reasonably conclude that all of the
   investors relied on the defendant’s fraudulent information.” Id. at 1153-54.
          The $13.2 million loss calculation in the first sentencing assumed that all 2,415 investors
   who purchased Signalife stock during the fraud period relied on the fraud. Id. at 1154. The
   Eleventh Circuit found that this market-wide reliance assumption was unsupported. Id. The
   evidence the government put forward in this Court to support it consisted of (1) trial testimony of
   a single investor, Dr. Bryan Harris, (2) an impact statement from an investor stating that he relied
   on one of the press releases, (3) other investor impact statements stating generally that they relied
   on publicly available information, and (4) testimony that “at least some” investors likely relied
   on the misrepresentations because information on the company was only available to the public
   in press releases and public filings. Id. The Eleventh Circuit concluded that this evidence, even
   taken together, was insufficient to establish that all 2,415 investors—the entire market—relied on
   the fraudulent information in deciding to purchase Signalife stock. Id.
          Drawing on civil securities fraud cases, the concurrence suggested that the government
   could satisfy the reliance requirement by establishing a “presumption” of reliance under Basic
   Inc. v. Levinson, 485 U.S. 224 (1988). See Stein, 846 F.3d at 1157 (J. Pryor, J., concurring).

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   Establishing this presumption would require a “fact-intensive” “analysis of the structure of the
   market and the speed with which all publicly available information is impounded,” including the
   extent to which the market for Signalife stock was characterized by “high-volume trading
   activity facilitated by people who analyze information about the stock or who make trades based
   upon that information.” Id. at 1158 (quotation marks omitted); see also In re HealthSouth Corp.
   Sec. Litig., 261 F.R.D. 616, 630-41 (N.D. Ala. 2009) (analyzing nine factors in determining
   whether civil plaintiffs had established Basic presumption). Typically, establishing the Basic
   presumption requires expert testimony. See, e.g., id.; Stanaford v. Genovese, No. 13-CV-80923-
   RYSKAMP/HOPKINS, 2016 WL 4198146, at *4-8 (S.D. Fla. Mar. 14, 2016) (analyzing
   expert’s analysis of several factors in determining whether Basic presumption was appropriate).
   In this case, the government’s expert Dr. Becker did not conduct this “fact-intensive analysis” or
   opine on any of the factors that are typically required to establish the presumption.
                  3.        To Prove Proximate Causation, the Government Must Prove that
                            Defendant’s Offense Conduct, and Not Other Causes, Caused Any
                            Pecuniary Loses That Victims Suffered.
          As noted above, only the “reasonably foreseeable pecuniary harm that resulted from the
   offense” may be included in a loss calculation. Stein, 846 F.3d at 1154-55. The Supreme Court
   has explained in the restitution context that a proximate cause requirement like this one “refers to
   the basic requirement that there must be some direct relation between the injury asserted and the
   injurious conduct alleged,” and “serves . . . to preclude liability in situations where the causal
   link between conduct and result is so attenuated that the consequence is more aptly described as
   mere fortuity.” Paroline v. United States, 134 S. Ct. 1710, 1719 (2014) (quotation marks
   omitted); see also Robers v. United States, 134 S. Ct. 1854, 1859 (2014) (“The basic question
   that a proximate cause requirement presents is whether the harm alleged has a sufficiently close
   connection to the conduct at issue.” (quotation marks omitted)); United States v. Robertson, 493
   F.3d 1322, 1334 (11th Cir. 2007) (to prove proximate causation under the MVRA, the
   government must show “that the causal connection between the [offense] conduct and the loss is
   not too attenuated.”).
          The Eleventh Circuit held that, if Defendant puts forward evidence showing that
   “intervening events affected [the] stock price during the fraudulent period,” this Court must
   make findings on “the effects of these intervening events” on the stock price and “whether these
   events were reasonably foreseeable to Mr. Stein.” Stein, 846 F.3d at 1156. Intervening causes of

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   a loss are only chargeable to the defendant if his own conduct is directly related to them. See
   Robertson, 493 F.3d at 1334 (“Defendant’s conduct need not be the sole cause of the loss, but
   any subsequent action that contributes to the loss, such as an intervening cause, must be directly
   related to the defendant’s conduct.” (quotation marks omitted)). The requirement of “reasonable
   foreseeability” ensures that only those harms directly caused by the defendant’s conduct that
   have a close enough connection to it are included in the loss amount. See Stein, 846 F.3d at 1155
   (comparing United States v. Martin, 803 F.3d 581 (11th Cir. 2015) with Robertson, 493 F.3d
   1322). Thus, for example, a defendant cannot be held liable for losses that result from
   intervening acts of third parties when those intervening acts themselves are not closely and
   directly connected to the defendant’s own criminal conduct. See, e.g., Robertson, 493 F.3d at
   1334.11 In the analogous context of assessing the base offense level of individual defendants in
   conspiracy cases pursuant to U.S.S.G. § 1B1.3, courts separately determine whether conduct of
   another was within the scope of what the particular defendant agreed to undertake, and then
   whether such conduct was foreseeable. See, e.g., United States v. Hunter, 323 F.3d 1314, 1319
   (11th Cir. 2003) (“[T]o determine a defendant’s liability for the acts of others” for purposes of
   calculating loss, “the district court must first make individualized findings concerning the scope
   of criminal activity undertaken by a particular defendant. . . . . Only after the district court makes
   individualized findings concerning the scope of criminal activity the defendant undertook is the
   court to determine reasonable foreseeability.” (quotation marks omitted)); United States v.
   Studley, 47 F.3d 569, 574 (2d Cir. 1995). Thus a defendant is not responsible for losses resulting
   from his co-conspirators’ acts, even if foreseeable, if those acts were not within the scope of
   what he agreed to do. See, e.g., United States v. Barona-Bravo, 685 F. App’x 761, 781 (11th Cir.
   2017); Hunter, 323 F.3d at 1319; United States v. Evbuomwan, 992 F.2d 70, 74 (5th Cir. 1993).
   A fortiori, Defendant here cannot be held liable for losses caused by intervening acts of others
   unrelated to his conduct.




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     See also, e.g., United States v. Vaghela, 169 F.3d 729, 736 (11th Cir. 1999) (defendant not
   responsible for losses Medicare incurred from kickback scheme where defendant selected lab to
   perform tests but doctors independently determined tests were necessary and ordered them).

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                   4.      In Securities Fraud Cases, Courts Calculate Investor Losses by Assessing
                           the Impact on the Stock Price When the Fraud Is Revealed.
           Although courts have taken varying approaches to calculating investors’ losses resulting
   from securities fraud, one widely used approach is to use the amount by which the stock price
   declines in the short time period after a “corrective disclosure”—a disclosure to the market that
   reveals that previous misrepresentations were false. See, e.g., United States v. Rand, 835 F.3d
   451, 467 (4th Cir. 2016) (affirming loss calculation based on stock price’s decline on days
   following two corrective disclosures); United States v. Peppel, 707 F.3d 627, 644 (6th Cir.
   2013), aff’g 2011 WL 3608139, at *11 (S.D. Ohio Aug. 16, 2011) (affirming loss amount
   calculated based on price decline over single trading day following announcement of SEC
   investigation of company); United States v. Adelson, 441 F. Supp. 2d 506, 509 (S.D.N.Y. 2006)
   (“[T]he ordinary measure of loss in a criminal securities fraud case is the decline in the price of
   stock when the fraud is revealed.”). (O’Neal Rpt. (Ex. 1) ¶¶ 22-28.) A “corrective disclosure” is
   one that “reveal[s] to the market the falsity of a prior misstatement.” Meyer v. Greene, 710 F.3d
   1189, 1200 (11th Cir. 2013) (alteration and quotation marks omitted).
           This method is consistent both with the Sentencing Guidelines, see Rand, 835 F.3d at 467
   (“[L]oss should be calculated based on how the price of a security changed ‘after the fraud was
   disclosed to the market.’” (quoting U.S.S.G. § 2B1.1 n.3(F)(ix)), as well as logic and economic
   theory. As Dr. O’Neal will testify, where a stock trades in an efficient market,12 in which stock
   prices fully reflect all known material information about a company, the revelation of a material
   fraud will cause the market to react, and that reaction quantifies the amount (if any) by which the
   value of the company was inflated by the fraud. (O’Neal Rpt. (Ex. 1) ¶¶ 22, 25-26.) Prior to the
   revelation of the fraud, the stock price continues to reflect the value of the company with the
   fraudulent information impounded into the price. (Id. ¶ 30.) It follows that investors who sell
   before the fraud is revealed do not suffer a loss due to the fraud, even if they sell at a loss,
   because the sale price reflects the inflation in the stock’s value from the fraudulent information.
   (Id. ¶¶ 31-32.) Any decline in price before a fraud revelation must be attributed to causes other


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      Neither Dr. O’Neal nor the government’s expert Dr. Becker has opined on whether the market
   for Signalife stock was efficient at any point in time during the alleged fraud periods, though
   Defendant’s expert in the first proceeding Dr. Susan Mangiero opined that it was not. See infra
   note 17. As explained below, if the market was inefficient, a price change cannot necessarily be
   attributed to any particular piece of information.

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   than the fraud, because only when a fraud is revealed does the value of the stock adjust to reflect
   the “true” value of the company absent the fraudulent information. (Id. ¶ 32.) And, finally, even
   when a fraud is revealed, the impact of other information that reaches the market at the same
   time, or market-wide effects, also has to be taken into account in determining how much loss can
   be attributed to the fraud specifically versus other factors. (Id. ¶ 27.) These principles inform
   both criminal cases and civil securities fraud cases involving the standards for proving loss
   causation. See, e.g., United States v. Rutkoske, 506 F.3d 170, 179-80 (2d Cir. 2007) (“Many
   factors may cause a decline in share price between the time of the fraud and the revelation of the
   fraud. In such cases, losses from causes other than the fraud must be excluded from the loss
   calculation.”); United States v. Hatfield, No. 06-CR-0550, 2014 WL 7271616, at *3 (E.D.N.Y.
   Dec. 18, 2014) (“[D]emonstrating shareholder losses involves measuring the share price decline
   attributable to the announcement of” a fraud, and “one must disentangle the price changes
   associated with those events from other, ‘ordinary’ price movements.”); see also Dura Pharm.,
   Inc. v. Broudo, 544 U.S. 336, 342-43 (2005) (investors do not necessarily suffer actual loss from
   an initially inflated price if they sell before fraud is revealed or value of shares falls for reasons
   other than the fraud); Meyer, 710 F.3d at 1196-97.13
           For these reasons, the amount by which a stock reacts on a corrective disclosure of fraud,
   adjusting for the portion of that price reaction attributable to other information, is a reasonable
   estimate of the loss to an investor resulting from that fraud. This method is particularly
   appropriate in this case given that the stock price dropped dramatically prior to any potential
   disclosure of the fraud. (See Background sec. B.) Focusing on the price impact on that
   disclosure avoids charging Defendant with declines in share value that could not possibly be
   attributed to his conduct, because the market was not aware until afterward that anything about




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      Some circuits have expressly applied Dura in the criminal context. See Rutkoske, 506 F.3d at
   179-80; United States v. Olis, 429 F.3d 540, 546-47 (5th Cir. 2005). Here, although the Eleventh
   Circuit accepted one of Dura’s main premises, that the government must prove proximate
   causation to show a loss resulting from the offense, the Eleventh Circuit declined to apply Dura
   fully because it felt that the “reasonable foreseeability test” was appropriate for calculating loss.
   Stein, 846 F.3d at 1156 n.20. Although Defendant believes Dura should apply fully here, as it
   relied on principles that have equal application in the civil and criminal contexts, this Court need
   not consider Dura controlling or even directly on point to apply the principles set forth above.

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   the alleged misstatements was untrue.14 This method is also consistent with the Eleventh
   Circuit’s reasonable foreseeability test: While the foreseeable result of a fraud on a stock’s price
   is a negative reaction when the fraud is revealed, see, e.g., United States v. Reifler, 446 F.3d 65,
   109 (2d Cir. 2006), price movements caused by other factors, including the overall market and
   events unrelated to the fraud, are not foreseeable. See, e.g., Evans, 744 F.3d at 1197-98
   (vacating loss calculation that failed to assess the “effect and foreseeability of non-fraud factors”
   including the economy and housing market); see also Boatmen’s Nat’l Co. v. M.W. Elkins & Co.,
   63 F.2d 214, 216-17 (8th Cir. 1933); Restatement (2d) of Torts § 548A cmt. b (“[T]here is no
   liability when the value of the stock goes down after the [fraudulent] sale, not in any way
   because of the misrepresented financial condition, but as a result of some subsequent event that
   has no connection with or relation to its financial condition.”). Moreover, the Guidelines
   contemplate that price changes caused by “external market forces, such as changed economic
   circumstances, changed investor expectations, and new industry-specific or firm-specific facts,
   conditions, or events” are not losses—defined as “reasonably foreseeable pecuniary harms”—
   “resulting from the offense.” U.S.S.G. § 2B1.1 n. 3(F)(ix).15
   II.    THE GOVERNMENT CANNOT PROVE LOSSES TO INVESTORS
          Applying these standards, the government will not be able to establish investor losses
   resulting from the fraud above negligible levels. The government has not even attempted to
   prove market-wide reliance on the part of investors, nor has it proven individualized reliance.
   With respect to proximate cause, because the government has not proven that Signalife stock
   traded in an efficient market, it cannot prove that any particular event, including the fraud’s


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      For similar reasons, this Court should adhere to its view at the first sentencing and reject the
   application of the “modified rescissory method,” which subtracts the average price during the
   fraud period with the average price during a period after the fraud is disclosed. (See Sent. Tr. II
   (DE 429) at 30.) And, as Defendant argued at the previous sentencing, the MRM was referenced
   in the 2014 Guidelines as a possible method of loss measurement but was not included in the
   Guidelines applicable when the offense was committed. (See DE 387, at 7-8.) Therefore, using
   the more punitive MRM here would violate the ex post facto clause—another reason not to do
   so. See Peugh v. United States, 133 S. Ct. 2072, 2088 (2013).
   15
     Application note 3(F)(ix) sets forth the modified rescissory method as “[o]ne . . . method the
   court may consider” in measuring loss, but instructs that to determine whether the result is “a
   reasonable estimate of the actual loss attributable to the change in value of the security,” the
   court may consider whether the amount “includes significant changes in value not resulting from
   the offense,” including the factors listed above. U.S.S.G. § 2B1.1 n.3(F)(ix) (emphasis added).

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   revelation, caused any particular price movement. Alternatively, if the Signalife 10-Q issued on
   August 15, 2008 constituted a “corrective disclosure,” investor losses are limited to the decline in
   value, immediately after the 10-Q issued, of the shares held by those investors who both relied
   on the fraud in purchasing their shares and continued to hold them through the date of the 10-Q.
   Those losses are reduced even further when other factors that contributed to that decline,
   including unrelated negative information released to the market on August 15, 2008 and naked
   short selling of the company’s stock, are taken into account. Because the alleged fraud was not
   revealed to the market prior to August 15, 2008, any price declines before that date (whatever
   their actual cause) cannot be attributed to Defendant’s offenses. And in fact, the evidence shows
   that unrelated company news, broader market movements, and naked short selling were
   substantial factors in the price movements prior to August 15, 2008.
          A.      The Government Has Failed To Prove Reliance
          The government has disclosed five Signalife investors it intends to call at the hearing.
   Even if these witnesses were to testify that they relied on fraudulent information in purchasing
   Signalife shares,16 that would not establish what the government claimed in the last proceeding:
   that the entire marketplace of Signalife investors relied on the fraud. The government has not
   argued, and its expert has not opined, that these investors are representative of the wider class of
   Signalife shareholders, or that they are a sample that can be extrapolated to the larger population.
   See Stein, 846 F.3d at 1154 (evidence in previous proceeding was “far too limited” to support
   finding that all investors who purchased shares during “broad” fraud period relied on fraudulent
   information); id. at 1157 (J. Pryor, J., concurring) (the government “presented little specific
   evidence that would permit the district court to extrapolate from that tiny two-person sample”).
          Typically, to establish class-wide reliance in securities fraud cases, civil plaintiffs do
   what the concurrence suggested here: seek to establish the Basic presumption of reliance. But
   that requires a detailed analysis of a number of factors that bear on “whether the stock price, at


   16
     If these witnesses are like Dr. Harris, who testified at trial, the government will have difficulty
   establishing even individual reliance through their testimony. Trading records show that Dr.
   Harris purchased 200,000 shares on the date of the April 14, 2008 webcast, which the
   government apparently claims partly revealed the fraud, and 420,000 shares after the webcast,
   including 350,000 shares after the August 15, 2008 10-Q. (See Excerpts of Signalife trading data
   (Ex. 16).) Assuming the alleged fraud had been disclosed by these dates, as the government
   argues, such activity is inconsistent with reliance on the fraud to make purchase decisions.

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   the time plaintiff effected [the] trade, reflected [the] misinformation” and whether the stock
   traded in an “open and efficient” market. Stanaford, 2016 WL 4198146, at *5; see also
   HealthSouth, 261 F.R.D. at 632. These factors include, among others, the security’s “weekly
   trading volume,” the extent to which “securities analysts followed and reported on the
   company’s stock” during the relevant period, the existence and extent of “market makers” for the
   stock, “whether the company was entitled to file an S-3 Registration Statement in connection
   with public offerings,” and whether the security “experienced an historical showing of
   immediate price response to unexpected corporate events or financial releases.” HealthSouth,
   261 F.R.D. at 632.17
          The government’s expert analyzed none of these factors. Instead, her opinions are
   limited to the fact that the stock price increased in an abnormal way on the date that one (and
   only one) of the three press releases was issued, September 25, 2007. (Becker Rpt. (Ex. 3) ¶ 14.)
   But, that is not sufficient to establish that the market for Signalife stock was efficient at the time,
   and thus that the price increase on September 25, 2007 necessarily resulted from the press
   release. And, therefore, it is insufficient to establish a presumption that all investors who
   purchased following that date relied on the information in the press release. Moreover, the Basic
   presumption could not apply to the first and third press releases, on September 20 and October
   10, 2007, respectively, because Dr. Becker found no price impact resulting from either of them.
   (Id.) The lack of a price impact on a particular event rebuts the Basic presumption of reliance.
   See Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2414 (2014).
          B.      The Government Has Failed To Prove Proximate Causation
                  1.      Because the Government Failed to Prove Market Efficiency, It Cannot
                          Show that Price Movements Resulted from Any Particular Cause.
          As Dr. O’Neal will explain, in an inefficient market the share price at any point in time
   does not necessarily reflect any particular information available to the market. Therefore, it is
   not possible to determine the causes of changes in share price by reference to particular news.

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     For the first sentencing hearing, Defendant’s expert Dr. Susan Mangiero analyzed these factors
   and concluded that Signalife likely traded in an informationally inefficient market. (See
   Mangiero Rpt. (DE 469-1) ¶ 87.) And, Defendant’s expert James W. Christian has opined that
   due to the extent of naked short selling the company experienced during the fraud periods
   (described in more detail below), changes in the stock’s price would not necessarily reflect or
   incorporate material news about the company quickly or completely. (See Christian Rpt. (Ex. 2)
   ¶ 35; see also O’Neal Rpt. (Ex. 1) ¶¶ 22-23 (defining market efficiency and inefficiency).)

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   (O’Neal Rpt. (Ex. 1) ¶¶ 33-34.) Accordingly, it is not possible simply by looking at the
   movements of the company’s stock price, which is all Dr. Becker did, to conclude that investors
   suffered losses due to the fraud as opposed to other causes. (Id. ¶ 61.) The government bears the
   burden of proof, and therefore will not be able to show causation or investor losses.
                    2.      Alternatively, Only the August 15, 2008 10-Q, and Not the April 14, 2008
                            Webcast, Contained a Corrective Disclosure.
           The August 15, 2008 10-Q was the only disclosure to the market that even arguably
   constitutes a corrective disclosure of the fraud that took place during the alleged fraud periods.
   The April 14, 2008 webcast, on which the government newly relies, did not mention the relevant
   purchase orders or press releases at all, and what disclosures there were about the company’s
   sales were positive, and certainly not inconsistent with the company’s prior statements
   concerning the relevant purchase orders. (See Background sec. C.)18 See Meyer, 710 F.3d at
   1200; In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1130, 1138 (10th Cir. 2009) (“[I]t
   would be difficult to characterize an announcement that contained no negative information . . . as
   revelatory of the truth . . . .”).
           To the extent investors may have expected greater information about the company’s
   performance than the webcast disclosed and their expectations were disappointed, that indicates
   only that the price drop following the webcast resulted from diminished short-term investor
   speculation, not the revelation of any fraud. See Meyer, 710 F.3d at 1199 (noting that “changed
   investor expectations” can be “confounding information” that “do not qualify as [a] corrective
   disclosure[] for purposes of loss causation.”). As Dr. O’Neal opines, the stock price on the
   trading day prior to the webcast spiked higher than the stock had been trading previously,
   possibly as a result of investors bidding up the price in speculation of what would be announced.
   (See O’Neal Rebuttal Rpt. (Ex. 5) ¶ 6.) And, even after the webcast, the stock traded higher than
   it had beforehand. (Id.) Thus the price behavior around the webcast should be seen as a
   temporary blip, and is not an accurate measure of investors’ losses resulting from the offenses.



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      Notably, if the April 14, 2008 webcast did disclose the fraud, even partially, it would not be
   possible for the government to argue that investors who purchased shares after that date relied
   upon the fraud. The government appears to recognize this as it has disclosed it will propose both
   a “narrow” fraud period, beginning on Sept. 25, 2007 and ending April 14, 2008, and a “broad”
   period running from Sept. 20, 2007, through August 15, 2008. (See Background sec. F.)

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                  3.      Intervening Causes Contributed to the Stock Price Decline Both on
                          August 15, 2008, and Earlier in the Alleged Fraud Periods.
                          a.      Confounding Disclosures in the 10-Q
          As the Eleventh Circuit held, this Court must disentangle investor losses resulting from
   the Defendant’s offense conduct from losses resulting from other causes. Stein, 846 F.3d at
   1155-56. With respect to the price decline following the August 15, 2008 10-Q specifically, this
   means that the measure of loss must adjust for the information unrelated to the purchase orders
   that was disclosed in the 10-Q—specifically the announcements of the company’s largest
   quarterly loss in ten quarters and the company’s shareholders’ equity entering negative territory
   for the first time. (See Background sec. C.) The market’s reaction to these disclosures neither
   resulted from Defendant’s conduct nor were foreseeable to him. See Evans, 744 F.3d at 1197-
   98. As Dr. O’Neal will testify, while investors may have seen the purchase order disclosures as
   important, the disclosures concerning the broader financial performance of the company would
   likely also have been seen as highly significant. (O’Neal Rpt. (Ex. 1) ¶ 58.) A reasonable
   estimate of the price decline specifically attributable to the purchase order disclosures, adjusting
   for the effects of the other two disclosures, is one third the total price decline over the two-
   trading-day period of August 15-18, or $525,422. (Id.)19
                          b.      Market Movements and Unrelated Company News Before
                                  August 15, 2008
          As explained above, Signalife’s share price declined over 90% from the beginning of the
   “broad” fraud period to August 15, 2008. This decline cannot be attributed to the alleged fraud,
   which would have resulted in a positive uptick, or revelation of the fraud, which had not yet
   occurred. Necessarily, other factors must have driven these price movements. See, e.g., United
   States v. Olis, 429 F.3d 540, 546 (5th Cir. 2005) (“[T]here is no loss attributable to a
   misrepresentation unless and until the truth is subsequently revealed and the price of the stock
   accordingly declines. Where the value of a security declines for other reasons, however, such
   decline, or component of the decline, is not a ‘loss’ attributable to the misrepresentation.”).

   19
     Note that this figure is a ceiling for the loss amount, not the final answer, because it assumes
   that all non-insider investors who held shares on August 15, 2008 suffered a loss resulting from
   the fraud. (See O’Neal Rpt. (Ex. 1) ¶ 62.) Under the Eleventh Circuit’s standard, only investors
   who relied on the fraud in purchasing shares count as victims whose losses are included.
   Moreover, this figure does not take into account the further effects of naked short selling, which,
   as explained below, placed significant downward pressure on the stock.

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          While the alleged fraud could not have caused Signalife’s dramatic price decline during
   the fraud periods, other unrelated factors likely did. First, certain company news unrelated to the
   relevant purchase orders was associated with large price movements during both the “broad” and
   “narrow” fraud periods. (See Background sec. B.) The market’s reactions to news events cannot
   be attributed to Defendant’s offense conduct, and there is no evidence that the events or the
   reactions were somehow foreseeable to him. Second, an index of comparable companies
   declined by approximately 15% during the “broad” fraud period. (O’Neal Rpt. (Ex. 1) ¶¶ 70-72)
   Although both parties’ experts found that Signalife’s stock’s movements were not, on a day-to-
   day basis, statistically correlated with the broader market, it nevertheless can be expected that
   over time, Signalife’s share price would be impacted by it. (Id.) Both these facts underscore that
   looking at the price decline on the August 15, 2008 corrective disclosure and not earlier in the
   fraud periods is the correct measure of loss in this case.
                          c.      Naked Short Selling of Signalife Stock
          Finally, as Defendant’s experts have concluded, the naked short selling of Signalife’s
   stock throughout the fraud periods put “significant downward pressure” and was a “substantial
   cause of the drop” in the stock’s value during those periods. (Christian Rpt. (Ex. 2) at p. 1, ¶ 26;
   see also id. Ex. C (Shapiro Rpt.) at 14 (concluding that “FTDs of Signalife had a material
   adverse effect on its share price”); see generally Background sec. B.) Defendant’s expert Dr.
   Anthony Hayter confirmed statistically significant correlations between the levels of FTDs
   reported by the SEC (indicative of naked short sales) and declines in the company’s stock price.
   (Hayter Rpt. (Ex. 4) at 13-39.) Although Dr. Becker disputes the statistical significance of this
   relationship, she does not dispute other metrics that demonstrate the extent of the naked short
   selling and its effects. For example, Signalife’s stock price was more likely to decline on a day
   after the company experienced greater than 10,000 FTDs (shares sold short that were not
   delivered to their buyers) than when the company saw fewer FTDs. (Id. at 34-39.) Defendant’s
   expert James W. Christian notes that among other data points Signalife averaged 679,563 FTDs
   per day in the first two weeks of August 2008, around the end of the “broad” fraud period.
   (Christian Rpt. (Ex. 2) ¶ 28.) Over the entire “broad” fraud period, FTDs accounted for large
   percentages of the company’s average trading volume and at times exceeded the company’s
   reported short interest, indicating that the levels of naked short selling could have been even
   higher than the reported FTDs suggest. (Id. at ¶¶ 27-31.) Dr. Becker ignored all of these points.


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   Mr. Christian concluded that these observations are consistent with high levels of naked short
   selling that can result in the downward manipulation of a company’s stock price. (Id.) The
   Supreme Court and SEC have stated that high levels of naked short selling can result in market
   manipulation and the artificial depression of stock prices. See, e.g., Merrill Lynch, Pierce,
   Fenner & Smith Inc. v. Manning, 136 S. Ct. 1562, 1566 (2016) (“[naked short selling] can serve
   ‘as a tool to drive down a company’s stock price’—which, of course, injures shareholders”
   (quoting “Naked” Short Selling Antifraud Rule, SEC Release No. 34-58774, 73 Fed. Reg. 61667
   (2008))); see also Eagletech Commc’ns Inc. v. Citigroup, Inc., No. 07-60668-CIV, 2008 WL
   3166533, at * 6, 11 (S.D. Fla. June 27, 2008) (describing “naked shorting/failures to deliver
   securities” as a “form[] of stock manipulation” and “securities fraud”).
          That naked short selling was at least a substantial factor in the stock’s decline during the
   fraud periods prior to any corrective disclosure (see Christian Rpt. (Ex. 2) at 1-2; Christian
   Rebuttal Rpt. (Ex. 6) ¶ 13) underscores the correctness of the approach to look only to the price
   impact on the fraud’s revelation, and not earlier, to measure the loss attributable to the offenses.
   And, in addition, given the levels of naked short selling through the fraud periods, it likely also
   contributed to the modest price decline on August 15, 2008 itself. Finally, there is no evidence
   that the naked short selling was either related to Defendant’s conduct or foreseeable to him. (See
   Christian Rpt. (Ex. 2) ¶¶ 32-34 (opining that various aspects of the naked short selling Signalife
   experienced mean that it could not have been foreseeable to Defendant).) There is no evidence
   that Defendant’s offense conduct caused or was related to the naked short selling, and certainly
   not that it was within the scope of criminal conduct that he agreed to undertake. As such, any
   losses resulting from it cannot be included in the loss amount. See, e.g., Robertson, 493 F.3d at
   1334; Hunter, 323 F.3d at 1319; Evbuomwan, 992 F.2d at 74.
                  4.      Conclusion on Loss Causation
          Because the government has not proven that Signalife stock traded in an efficient market,
   it is not possible to conclude from price movements (which is all its expert analyzed) that any
   investors suffered “pecuniary harm that resulted from the offense.” U.S.S.G. § 2B1.1 n.3(A)(i).
   Alternatively, only those investors who the government proves relied on the specific
   misrepresentations in purchasing Signalife shares, and held the shares through August 15, 2008
   and experienced a decline in their value on that date could even potentially be considered
   victims. And then, to allocate the portion of the value those investors’ shares lost on August 15,


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   2008 to the alleged fraud, the Court must deduct (1) the impact of the other, unrelated disclosures
   in the 10-Q, and (2) the impact of the naked short selling, which Defendant’s experts conclude
   was a substantial driver of the overall price decline during the fraud periods. The end result is a
   finding that the losses resulting from the offenses here were negligible.
   III.    DEFENDANT’S ALLEGED GAIN SHOULD NOT BE USED AS AN
           ALTERNATIVE MEASURE OF LOSS, BUT IN ANY EVENT IT WAS ZERO
           The government has disclosed that it intends to argue that the alleged gain to Defendant
   from the offenses is an “alternative measure” of the loss here. Gain can only be used as a loss
   measure, however, “if there is a loss but it reasonably cannot be determined.” U.S.S.G. § 2B1.1
   n.3(B); United States v. Snyder, 291 F.3d 1291, 1295-96 (11th Cir. 2002). Here, using the
   methods set forth above, the Court can reach a “reasonable estimate of the loss” to victims—and
   that loss is at or close to zero.
           Even if the court were to look to Defendant’s gain as a measure of loss, the result would
   be consistent with the loss finding; Defendant’s gains from the alleged scheme were minimal at
   best. The relevant inquiry is Defendant’s net gain. See, e.g., United States v. Giovenco, 773
   F.3d 866, 871 (7th Cir. 2014) (measuring gain for sentencing purposes in terms of “net profits”);
   see also United States v. Munoz, 430 F.3d 1357, 1370 (11th Cir. 2005). And here, Defendant
   suffered net losses as a result of his trades that resulted in a net increase in his holdings of
   Signalife stock during the “broad” fraud period, conduct completely inconsistent with a “pump-
   and-dump” scheme to unload shares at inflated prices while fooling the market. From trading
   losses and the decline in value of his holdings, Defendant lost approximately $26 million during
   the “broad” fraud period, a figure which dwarfs the government’s allegations as to his alleged
   gains. (See Background sec. D.)
   IV.     THE ENHANCEMENT FOR 250 OR MORE VICTIMS DOES NOT APPLY
           The Eleventh Circuit noted that the enhancement this Court imposed pursuant to U.S.S.G.
   § 2B1.1(b)(2)(C) (2014) for 250 or more victims was “intertwined” with the loss enhancements,
   and did not “address it separately.” Stein 846 F.3d at 1151 n.16. As noted above, the only basis
   for the enhancement was this Court’s conclusion, implicit in the government’s “buyers only”
   calculation, that all 2,415 purchasers of Signalife stock during the fraud period relied on the
   fraudulent information. (See Background sec. E.) Because the Eleventh Circuit vacated the loss
   calculation after finding that very assumption unsupported, see id. at 1154, this Court should not
   apply this enhancement to Defendant’s offense level. Because the government has failed to
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   prove market-wide reliance (as explained supra sec. II.A), there is no basis for a conclusion that
   250 or more investors relied on fraudulent information, let alone that those investors suffered a
   pecuniary loss because of the offense and not other causes.20
   V.     A FINDING OF A SUBSTANTIALLY REDUCED LOSS AMOUNT SHOULD
          RESULT IN A SUBSTANTIALLY REDUCED SENTENCE
          As the Eleventh Circuit noted in Defendant’s appeal, the loss amount “serves as a proxy
   for the seriousness of the offense and the defendant’s relative culpability.” Stein, 846 F.3d at
   1152 (citations and quotation marks omitted). In financial fraud cases such as this, “the loss
   calculation often drives the sentence.” Id. This Court found it important, in imposing the
   previous sentence, that “there was a significant amount of loss.” (Sent. Tr. II (DE 429) at 71.)
   As set forth above, the Court should now find the loss to be, not $13.2 million as before but at
   most on the government’s theories $2 million, and substantially less than that as shown by
   Defendant. Therefore, even if, due to the thresholds in the loss table, Defendant’s Guideline
   calculation does not dramatically change (though it would on a zero-loss finding), the Court
   should recognize the substantial difference between these loss amounts and its previous finding
   and adjust the sentence downward accordingly.
                                             CONCLUSION
          For the foregoing reasons, Defendant respectfully requests that the Court recalculate his
   offense level reflecting the actual loss that resulted from his offense and without the
   enhancement pursuant to U.S.S.G. § 2B1.1(b)(2)(C) (2014) for 250 or more victims. Based on
   what the government has disclosed about its loss calculations and the evidence it has put forward
   to date, Defendant requests a substantially reduced sentence based on a far lower loss amount.
   Defendant reserves the right to make additional arguments once he learns the government’s
   specific loss estimates, including with respect to any individuals who testify at the hearing.
   Defendant anticipates that after reviewing the submissions of the parties and hearing the
   testimony of the parties’ witnesses, the Court will be in a position to impose a fair and
   appropriate sentence. At that time, Defendant intends to make a request for a specific sentence,
   consistent with all of the evidence that the Court will have before it.

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      To the extent the Court does impose either an enhancement for loss or number of victims, such
   a sentence would be inconsistent with the Sixth Amendment, because it would be based on facts
   found only by this Court and not the jury. See Gall v. United States, 552 U.S. 38, 60 (2007)
   (Scalia, J., concurring); Rita v. United States, 551 U.S. 338, 375 (2007) (Scalia, J., concurring).

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        Dated: June 1, 2018             Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE
                 I HEREBY CERTIFY that on June 1, 2018, I electronically filed the foregoing

   documents with the Clerk of the Court and all counsel of record using CM/ECF.

                                           By:                  /s/
                                                 Richard C. Klugh, Esq.




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